                    Case 21-12228            Doc 1       Filed 10/27/21 Entered 10/27/21 10:44:51                              Desc Main
                                                           Document     Page 1 of 71

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Golden Fleece Beverages, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Argo Tea
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  3319 N Cicero Ave
                                  250 E Pearson Street #1601                                      PO Box 410248
                                  Chicago, IL 60611                                               Chicago, IL 60641
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  See attached addendum
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.argotea.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 21-12228                Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51                                    Desc Main
                                                              Document     Page 2 of 71
Debtor    Golden Fleece Beverages, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 21-12228                   Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                                Desc Main
                                                                    Document     Page 3 of 71
Debtor    Golden Fleece Beverages, Inc.                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 21-12228    Doc 1        Filed 10/27/21 Entered 10/27/21 10:44:51                      Desc Main
                                                    Document     Page 4 of 71
Debtor   Golden Fleece Beverages, Inc.                                               Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
         Case 21-12228                   Doc 1        Filed 10/27/21 Entered 10/27/21 10:44:51                                          Desc Main
                                                        Document     Page 5 of 71
Debtor                                                                                             Case number (If known)
         Golden Fleece Beverages, Inc.
         Name
                                                                                                                            ---------- ----

         Request for Rellef, Declaration, and Signatures

WARNING - Bankruptcy fraud Is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 27, 2021
                                                  MM/DD/YYYY


                             X Isl Candace Macleod                                                        Candace Macleod
                                                                                                          Printed name

                                 Title    President




                             X Isl Jonathan P. Frledland                                                   Date    October 27, 2021
18. Signature of attorney
                                  Signature of attorney for debtor                                                 MM/DD/YYYY

                                  Jonathan P. Friedland
                                  Printed name

                                  Sugar Felsenthal Grals & Heisinger LLP
                                  Firm name

                                  30 N. LaSalle St.
                                  Suite 3000
                                  Chica o, IL 60602
                                  Number, Street, City, State & ZIP Code


                                . Contact phone     (312) 704-9400                Email address      jfrledland@sfgh.com


                                  6257902IL
                                  Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 5
  Case 21-12228        Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51             Desc Main
                                   Document     Page 6 of 71



                                  Golden Fleece Beverages, Inc.
        Addendum to Voluntary Petition for Non-Individuals Filing for Bankruptcy


4. Debtor's address – Location of principal assets, if different from principal place of business:
       550 First Avenue, New York New York 10011
       Stapleton 1900 Hwy 99. Gridley CA 95948
       Shiphero, 6736 Tilghman Street, Allentown PA 18106
       Shiphero, 900 Terminal Road, Dock Door 243, Fort Worth TX 76106
       First Logistics 11859 S Central Ave, Alsip IL 60803
       iD Commerce & Logistics 700 Gateway Dr, Bolingbrook, IL 60440
       Global Plastics, 6739 Guion Road Indianapolis IN 46268




SFGH:4835-8762-6238
DocuSign Envelope ID: 1FD617F7-28F7-4884-B546-83089ABD4ED0
                Case 21-12228         Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51          Desc Main
                                                  Document     Page 7 of 71


                     ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                              GOLDEN FLEECE BEVERAGES, INC. IN LIEU OF MEETING
                    The undersigned, constituting the entire Board of directors (the “Board”) of Golden
                Fleece Beverages, Inc., a Delaware corporation (the “Company”), in accordance with
                Section 141(f) of the Delaware General Corporation Law, without the formality of convening
                a meeting, do hereby consent to and adopt the following written consents, now in full force
                and effect as of October 14, 2021:

                    Whereas, the Company has decided to engage in a reorganization of its business.

                    Whereas, in the judgment of the Board, it is in the best interests of the Company, its
                creditors, its shareholders, and other interested parties that the Company reorganize under
                Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), and to elect for
                the case to proceed under Subchapter V of Chapter 11.

                It is now, therefore:

                     Resolved, that in the judgment of the Board, it is in the best interests of the Company,
                its creditors, shareholders, and other interested parties that the Company file a voluntary
                bankruptcy petition for relief under Chapter 11 of the Bankruptcy Code, and to elect for the
                case to proceed under Subchapter V of Chapter 11 (the “Subchapter V Case”), in the
                United States Bankruptcy Court for the Northern District of Illinois, before which the
                Company will seek authority to operate as a debtor in possession.

                    Resolved, that Candace MacLeod (AKA Candace Pappas), the Company’s President
                (the “President”) is authorized to execute all documents necessary to administer the
                Subchapter V Case on the Company’s behalf, including without limitation: petitions,
                affidavits, declarations, schedules, motions, lists, applications, pleadings, asset purchase
                agreements, bills of sale, certificates, guaranties, pledges, mortgages, security instruments,
                and other documents.

                   Resolved, that the Company’s engagement of Sugar Felsenthal Grais & Helsinger LLP
                (“SFGH”) as the Company’s legal counsel for the Subchapter V Case is ratified, adopted,
                and approved in all respects as more fully described in the letter agreement between the
                Company and SFGH.

                    Resolved, that the President is authorized to employ and retain professionals in the
                Subchapter V Case on behalf of the Company, including special legal counsel, accountants,
                and other professionals for the Company to take action that the President deems necessary
                or desirable in connection with the Subchapter V Case.

                    Resolved, that the Company, operating as a debtor in possession under Subchapter V
                of Chapter 11 of the Bankruptcy Code, is authorized to enter into a debtor in possession
                financing facility, and in connection with any debtor in possession financing facility the
                Company enters into, is authorized to grant any guaranties, pledges, mortgages, and other
                security instruments deemed necessary by the President to obtain such debtor in possession
                financing for the Company.

                                                                                                             1
DocuSign Envelope ID: 1FD617F7-28F7-4884-B546-83089ABD4ED0
                Case 21-12228         Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51     Desc Main
                                                  Document     Page 8 of 71


                    Resolved, that all lawful acts taken by the President to seek relief on behalf of the
                Company under the Bankruptcy Code, or any matter related to the Subchapter V Case,
                including in connection with debtor in possession financing, be, and hereby are, adopted,
                ratified, confirmed, and approved in all respects as the acts and deeds of the Company.

                    Resolved, that these written consents may be signed in any number of counterparts,
                each of which when read together will constitute one document, and that once signed, will
                be filed with the records of the Company.



                                                     [Signature page follows]




                                                                                                        2
DocuSign Envelope ID: 1FD617F7-28F7-4884-B546-83089ABD4ED0
                Case 21-12228         Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                  Document     Page 9 of 71


                    In Witness Whereof, the undersigned have executed these Written Consents as the
                directors of Golden Fleece Beverages, Inc., as of the date first written above.



                 By:
                         Glen Tullman, Director


                 By:
                         Arsen Avakian, Director


                 By:
                         Greg Wasson, Director




                                                                                                   3
DocuSign Envelope ID: FA83D205-41D0-4EDC-AD30-3816D7987BBB
               Case 21-12228         Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51        Desc Main
                                                 Document     Page 10 of 71


                    ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                             GOLDEN FLEECE BEVERAGES, INC. IN LIEU OF MEETING
                The undersigned, constituting the entire Board of directors (the “Board”) of Golden Fleece
            Beverages, Inc., a Delaware corporation (the “Company”), in accordance with Section 141(f) of
            the Delaware General Corporation Law, without the formality of convening a meeting, do hereby
            consent to and adopt the following written consents, now in full force and effect as of October 26,
            2021:

                Whereas, the Company has decided to engage in a reorganization of its business, and the
            Board unanimously consented for the Company to reorganize under Chapter 11 of Title 11 of the
            United States Code (the “Bankruptcy Code”) before the United States Bankruptcy Court for
            the Northern District of Illinois, Eastern Division (the “Bankruptcy Court”), and to elect for
            the case (the “Subchapter V Case”), to proceed under Subchapter V of Chapter 11.

               Whereas, the Board also unanimously consented to have Candace McLeod, the Company’s
            President (the “President”), oversee the Company’s day-to-day operations in the Subchapter V
            Case;

                Whereas, in the judgment of the Board, it is in the best interests of the Company, its
            creditors, members, and other interested parties that the Board appoint one of its members as a
            special director for purposes of making decisions, and taking any necessary actions, on behalf of
            the Board during the Subchapter V Case, to maximize the efficiency of the Subchapter V Case.

            It is now, therefore:

               Resolved, that Greg Wasson (“Wasson”) is appointed Special Director for Restructuring
            Purposes (the “Special Director”) with full authority to act, including making decisions, on
            behalf of the Board, in the Special Director’s sole discretion, during the pendency of the
            Subchapter V Case.

               Resolved, that the Special Director, in his sole discretion, may call for a vote of the Board on
            any matter that the Special Director deems a vote of the Board appropriate.

               Resolved, that the Special Director shall notify the Board of all actions he undertakes on
            behalf of the Board within a reasonable time period, not to exceed seven days of the Special
            Director taking such actions.

                Resolved, that the President shall report to the Special Director while the Subchapter V Case
            is pending.

                Resolved, that the Special Director may resign from his position as Special Director at any
            time and relinquish the authority delegated to him by the Board under these written consents,
            provided that the Special Director gives written notice of his resignation contemporaneously to
            the Board and the Company’s bankruptcy counsel at Sugar Felsenthal Grais & Helsinger LLP, so
            that counsel may file notice of such resignation with the Bankruptcy Court after receiving the
            Special Director’s resignation.



                                                                                                              1
            SFGH:4886-8529-9456v4
DocuSign Envelope ID: FA83D205-41D0-4EDC-AD30-3816D7987BBB
               Case 21-12228         Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51        Desc Main
                                                 Document     Page 11 of 71


                Resolved, that in the event the Board seeks to amend, revoke, or otherwise modify these
            written consents, the Board will give notice of such amendment, revocation, or modification to
            the Company’s bankruptcy counsel at Sugar Felsenthal Grais & Helsinger LLP, so that counsel
            may file notice of the amendment, revocation, or modification with the Bankruptcy Court after
            receiving the Special Director’s resignation.

               Resolved, that all lawful acts taken by the Special Director to seek relief on behalf of the
            Company under chapter 11 of the Bankruptcy Code, or any matter related to the Subchapter V
            Case be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the acts and
            deeds of the Company.

                Resolved, that nothing herein shall alter, amend, or otherwise diminish Wasson’s rights as a
            Director of the Company, including but not limited to, rights and protections granted pursuant to
            the Indemnification Agreement between Wasson and the Company dated January 15, 2020.

                Resolved, that these written consents may be signed in any number of counterparts, each of
            which when read together will constitute one document, and that once signed, will be filed with
            the records of the Company.

                                                    [Signature page follows]




                                                                                                             2
DocuSign Envelope ID: FA83D205-41D0-4EDC-AD30-3816D7987BBB
               Case 21-12228         Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                 Document     Page 12 of 71


                In Witness Whereof, the undersigned have executed these Written Consents as the
            directors of Golden Fleece Beverages, Inc., as of the date first written above.



             By:
                      Glen Tullman, Director


             By:
                      Arsen Avakian, Director


             By:
                      Greg Wasson, Director




                                                                                                       3
     Case 21-12228                        Doc 1            Filed 10/27/21 Entered 10/27/21 10:44:51                                  Desc Main
                                                            Document     Page 13 of 71




Fill in this information to identify the case:

Debtor name        Golden Fleece Beverages, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (If known)
                                                                                                                               □   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An lndlvldual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and llabllltles, any other document that requires a declaration that Is not Included In the document, and any
amendments of those documents. This form must state the lndlvldual's position or relatlonshlp to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



- Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        □        Schedule A/B: Assets-Real and Personal Property {Official Form 206A/B)
        □        Schedule D: Creditors Who Have Claims Secured by Property {Official Form 206D)
        □        Schedule E/F: Creditors Who Have Unsecured Claims {Official Form 206E/F)
        □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        D        Schedule H: Codebtors {Official Form 206H)
        D        Summary ofAssets and Liabilities for Non-Individuals {Official Form 206Sum)
        D        Amended Schedule
        ■        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders {Official Form 204)
        □        Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 27, 2021                       X Is/ Candace Macleod
                                                                     Signature of individual signin

                                                                      Candace Macleod
                                                                      Printed name

                                                                      President
                                                                      Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                            Best Case Bankruptcy
                      Case 21-12228                    Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                                      Desc Main
                                                                      Document     Page 14 of 71

 Fill in this information to identify the case:
 Debtor name Golden Fleece Beverages, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Arrow Trans                     Monika Saida                    Goods and                                                                                                $38,375.00
 2001 Estes Ave                                                  services
 Elk Grove Village, IL           monikas@arrowtra
 60007                           ns.com
 C.H. Robinson                   Nick Foglton      Goods and                                                                                                              $30,325.92
 Company, Inc.                                     services
 14701 Charlson                  nick.foglton@chro
 Road                            binson.com
 Eden Prairie, MN
 55347
 Clark Hill PLC                  Megan Berry                     Legal services                                                                                             $9,139.00
 901 Main Street
 Suite 6000                      maberry@clarkhill.
 Dallas, TX 75202                com
 Clutch Global                   Angela Maslanka                 Goods and                                                                                                $22,543.42
 Logistics                                                       services
 555 Waters Edge                 angela.maslanka@
 Suite 150                       clutchglobal.com
 Lombard, IL 60148
 Coyote Logistics                Tommy Cox                       Goods and                                                                                                $40,520.46
 2545 W Diversey                                                 services
 Ave                             tommy.cox@coyot
 Chicago, IL 60647               e.com
 Department of the                                               Taxes                                                                                                    $12,987.74
 Treasury
 Internal Revenue
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 DevTech PET, Inc                Maggie Mahony                   Goods and                                                                                                  $9,950.00
 12 Howe Drive                                                   services
 Amherst, NH 03031               mmhaony@devtec
                                 hpet.com
 First Logistics                 Don Worth
                                         Goods and                                                                                                                        $13,797.10
 Management Svc.                         services
 11859 S Central Ave dworth@firstlogisti
 Alsip, IL 60803     csllc.com

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                      Case 21-12228                    Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                                      Desc Main
                                                                      Document     Page 15 of 71


 Debtor    Golden Fleece Beverages, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Global Plastics                 Stacy Cooper                    Goods and                                                                                              $128,494.08
 6739 Guion Road                                                 services
 Indianapolis, IN                scooper@global-pl
 46268                           astics.com
 Greco and Sons                  Colleen English   Goods and                                                                                                              $71,702.89
 1500 Hecht Road                                   services
 Bartlett, IL 60103              cenglish@grecoan
                                 dsons.com
 Imperial Bag &                  Rich Laurendeau   Goods and                                                                                                                $9,743.63
 Paper Co.                                         services
 255 Route 1 & 9                 rlaurendeau@impe
 Jersey City, NJ                 rialbag.com
 07306
 Levenfeld Pearlstein            Jennifer Larkin                 Legal services                                                                                           $31,329.50
 2 N LaSalle Street
 Suite 1300                      jlarkin@lplegal.co
 Chicago, IL 60602               m
 O-I Packaging                   Earneshe Young                  Goods and                                                                                              $175,488.55
 Solutions                                                       services
 5200 Tennyson                   earneshe.young@o
 Pkwy                            -i.com
 Suite 100
 Plano, TX 75024
 Sleeve Seal                     Jennifer Bailey                 Goods and                                                                                                $60,702.90
 14000 Dineen Drive                                              services
 Little Rock, AR                 jenniferb@sleeves
 72206                           eal.com
 Stapleton Spence                Brad Stapleton                  Goods and                                                                                              $154,324.30
 Packing Co.                                                     services
 1900 Hwy 99                     bstapleton@staplet
 Gridley, CA 95948               on-spence.com
 SYSCO                                                           Goods and                                                                                                $17,674.09
 1390 Enclave Pkwy                                               services
 Houston, TX 77077
 Tate & Lyle Food &              Kelly O'Bryan                   Goods and                                                                                                $90,154.17
 Beverage Solutions                                              services
 2200 E Eldorado                 kelly.obryan@tatea
 Street                          ndlyle.com
 Decatur, IL 62521
 Total Quality                   Aliosman Youssein Goods and                                                                                                            $100,865.46
 Logistics                                         services
 700 Butterfield Road            ayoussein@tql.co
 Suite 250                       m
 Lombard, IL 60148
 Verizon Media Inc.              Brenda Davenport                Goods and                                                                                                $72,162.15
 14010 FNB Parkway                                               services
 Omaha, NE 68154                 brenda.davenport
                                 @verizonmedia.co
                                 m




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                      Case 21-12228                    Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                                      Desc Main
                                                                      Document     Page 16 of 71


 Debtor    Golden Fleece Beverages, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Wilson Sonsini                  Barbara McKnew                  Legal services                                                                                         $290,213.38
 Goodrich & Rosati
 PC                              bmcknew@wsgr.c
 650 Page Mill Road              om
 Palo Alto, CA 94304




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
Case 21-12228      Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                            Document     Page 17 of 71




    October 27, 2021
    Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                             Document     Page 18 of 71


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      550 St. Clair Retail Associates, LLC
                      c/o Erika L Kruse (reg'd agent)
                      28755 W Harvest Glen Cir
                      Cary, IL 60013

                      A&G Law LLC
                      Attn: Robert Andalman
                      542 South Dearborn Street
                      10th Floor
                      Chicago, IL 60605

                      Accurate Printing
                      4749 W 136th Street
                      IL 60418

                      Argo Tea, Inc.
                      1 E Erie St
                      Suite 525-2530
                      Chicago, IL 60611

                      Arrive Logistics
                      7701 Metropolis Drive
                      Bldg 15
                      Austin, TX 78744

                      Arrow Trans
                      2001 Estes Ave
                      Elk Grove Village, IL 60007

                      Beitler
                      2150 Roswell Drive
                      Pittsburgh, PA 15205

                      Beyer Insurance Agency
                      70 E Lake Street
                      #1015
                      Chicago, IL 60601

                      Brandfolder
                      3501 Wazee Street
                      Suite 300
                      Denver, CO 80216

                      C.H. Robinson Company, Inc.
                      14701 Charlson Road
                      Eden Prairie, MN 55347

                      Candace MacLeod
                      31515 Beechwood Drive
                      Warren, MI 48088

                      Clark Hill PLC
                      901 Main Street
                      Suite 6000
                      Dallas, TX 75202
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 19 of 71



                  Clutch Global Logistics
                  555 Waters Edge
                  Suite 150
                  Lombard, IL 60148

                  Coyote Logistics
                  2545 W Diversey Ave
                  Chicago, IL 60647

                  Delaware State Treasury
                  820 Silver Lake Blvd., Suite 100
                  Dover, DE 19904

                  Department of the Treasury
                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101-7346

                  DevTech PET, Inc
                  12 Howe Drive
                  Amherst, NH 03031

                  FGS, Inc
                  5 Earl Court
                  Suite 160
                  Woodridge, IL 60517

                  First Logistics Management Svc.
                  11859 S Central Ave
                  Alsip, IL 60803

                  Foodarom Group Inc.
                  5525 West 1730 South
                  Suite 202
                  Salt Lake City, UT 84104

                  Fox Logistics
                  2252 Landmeier Road
                  Suite A
                  Elk Grove Village, IL 60007

                  Genius Central Systems, Inc.
                  2025 Lakewood Ranch Blvd
                  Suite 202
                  Brandenton, FL 34211

                  Glen Tullman, As Administrative Agent
                  250 E Pearson Street #1205
                  Chicago, IL 60611

                  Global Plastics
                  6739 Guion Road
                  Indianapolis, IN 46268
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 20 of 71



                  Golenbock Eiseman Assor Bell & Peskoe LL
                  711 3rd Ave
                  New York, NY 10017

                  Gordon Food Service, Inc.
                  1300 Gezon Parkway SW
                  PO Box 2244
                  Grand Rapids, MI 49501

                  Greco and Sons
                  1500 Hecht Road
                  Bartlett, IL 60103

                  Halssen & Lyon GMBH
                  c/o Kaplan Saunders Valente & Beninati L
                  500 N Dearborn St.
                  Second Floor
                  Chicago, IL 60654

                  iD Commerce + Logistics
                  27 Main Street
                  Suite C-3038
                  Edwards, CO 81632

                  Illinois Attorney General
                  Attn: Bankruptcy
                  100 West Randolph StreetChicago
                  IL 60601

                  Illinois Department of Employment Securi
                  Benefit Payment Control Division
                  P O Box 4385
                  Chicago, IL 60680

                  Illinois Department of Revenue
                  Bankruptcy Unit
                  P O Box 19035
                  Springfield, IL 62794-9035

                  Imperial Bag & Paper Co.
                  255 Route 1 & 9
                  Jersey City, NJ 07306

                  Information Resources, Inc.
                  203 N LaSalle Street
                  Suite 1500
                  Chicago, IL 60601

                  Innovative Energy Solutions
                  P.O. Box 232
                  Dana Point, CA 92629

                  Jacqueline Powers
                  5442 W Dakin Street
                  Chicago, IL 60641
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 21 of 71



                  JPMorgan Chase Bank, N.A.
                  Attn: Bankruptcy
                  P.O. Box 6185
                  Westerville, OH 43086

                  Karleigh Santry
                  452 W Oakdale
                  Apt 403
                  Chicago, IL 60647

                  Kimberly Cook
                  N76W15455 Prairie Lane Menomonee Falls
                  Menomonee Falls, WI 53051

                  Kwik Trip, Inc.
                  c/o CT Corporation System (reg'd agent)
                  208 S LaSalle St
                  Suite 814
                  Chicago, IL 60604

                  Labels Unlimited
                  3400 W 48th Place
                  Chicago, IL 60632

                  Levenfeld Pearlstein
                  2 N LaSalle Street
                  Suite 1300
                  Chicago, IL 60602

                  Liberty Mutual Insurance
                  175 Berkeley Street
                  Boston, MA 02116

                  Lion Logistics
                  100 Bryn Mawr Ave
                  Bensenville, IL 60106

                  Matthew Dickman
                  1306 E Michelle Drive
                  Phoenix, AZ 85022

                  Mono GmbH
                  Industriestra 5, 40822
                  Mettmann
                  GERMANY

                  Nextway Trucking Company
                  7004 W 82nd Street
                  Burbank, IL 60459

                  Novack and Macey LLP
                  c/o Mitchell L. Marinello
                  100 N Riverside Plaza
                  Suite 1500
                  Chicago, IL 60606
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 22 of 71



                  O-I Packaging Solutions
                  5200 Tennyson Pkwy
                  Suite 100
                  Plano, TX 75024

                  Peak, LLC, as Representative
                  170 West Shirley Avenue
                  Suite 207
                  Warrenton, VA 20186

                  Peter Kazanas
                  1137 Jeanne Court
                  Crown Point, IN 46307

                  Rauch-Milliken International, Inc
                  c/o Illinois Corporation Service Company
                  801 Adlai Stevenson Dr
                  Springfield, IL 62703

                  Regas, Frezados & Dallas LLP
                  c/o Peter G. Frezados
                  20 North Clark Street, Suite 1103
                  Chicago, IL 60602

                  Roy Yu
                  965 Woodbury Lane
                  Davis, CA 95616

                  RWB Trucking, LLC
                  15326 Park Station Blvd
                  Orland Park, IL 60462

                  Sath Inc.
                  125 W Central Road
                  Schaumburg, IL 60195

                  Semyon Simonyan
                  211 E Ohio Street
                  Apt 1620
                  Chicago, IL 60601

                  Shelbi Vantrease
                  3329 W Schubert
                  Apt 1
                  Chicago, IL 60647

                  Shiphero
                  6736 Tilghman Street
                  Allentown, PA 18106

                  Sleeve Seal
                  14000 Dineen Drive
                  Little Rock, AR 72206
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 23 of 71



                  Small Business Administration
                  Tom Jackson, Branch Counsel
                  511 W Capitol St Suite 302
                  Springfield, IL 62704

                  Social Security Administration
                  Great Lakes Program Service Center
                  ATTN: OAS – 10th Floor
                  600 West Madison Street
                  Chicago, IL 60661

                  Stapleton Spence Packing Co.
                  1900 Hwy 99
                  Gridley, CA 95948

                  SYSCO
                  1390 Enclave Pkwy
                  Houston, TX 77077

                  Tate & Lyle Food & Beverage Solutions
                  2200 E Eldorado Street
                  Decatur, IL 62521

                  Teller Levit & Silvertrust P.C.
                  19 S. LaSalle St., Suite 701
                  Chicago, IL 60603

                  Total Quality Logistics
                  700 Butterfield Road
                  Suite 250
                  Lombard, IL 60148

                  TransGroup Global Logistics
                  860 Devon Avenue
                  Bensenville, IL 60106

                  Union of Orthodox Jewish Congregations
                  11 Broadway
                  13th Floor
                  New York, NY 10004

                  Varilease Finance, Inc.
                  6340 South 300 East
                  Suite 400
                  Salt Lake City, UT 84121

                  Verizon Media Inc.
                  14010 FNB Parkway
                  Omaha, NE 68154

                  Veterans Truck Line, Inc.
                  800 Blackhawk Drive
                  Burlington, WI 53105
Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                         Document     Page 24 of 71



                  Walgreens
                  1901 E Voorhees MS 670
                  Danville, IL 61834

                  WFC Fund, LLC
                  2020 West 89th Street
                  Suite 200
                  Leawood, KS 66206

                  Wilson Sonsini Goodrich & Rosati PC
                  650 Page Mill Road
                  Palo Alto, CA 94304
                 Case 21-12228                    Doc 1          Filed 10/27/21 Entered 10/27/21 10:44:51                Desc Main
                                                                  Document     Page 25 of 71



                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Golden Fleece Beverages, Inc.                                                                Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Golden Fleece Beverages, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 G&K Investment Holdings LLC
 2045 W Grand Ave Ste B, PMB 82152
 Chicago, IL 60612-1577
 National Investment Holdings LLC
 401 E. Jackson Street Suite 2525
 Tampa, FL 33602
 QRSTU LLC
 965 Woodbury Lane
 Davis, CA 95616
 Skydeck Holdings II LLC
 1 S Wacker Drive Suite 1810
 Chicago, IL 60606
 Vicinet LLC
 250 E Pearson Street Unit 1601
 Chicago, IL 60611




    None [Check if applicable]




 October 27, 2021                                                    /s/ Jonathan P. Friedland
 Date                                                                Jonathan P. Friedland
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Golden Fleece Beverages, Inc.
                                                                     Sugar Felsenthal Grais & Helsinger LLP
                                                                     30 N. LaSalle St.
                                                                     Suite 3000
                                                                     Chicago, IL 60602
                                                                     (312) 704-9400
                                                                     jfriedland@sfgh.com




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
               Case 21-12228             Doc 1       Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                      Document     Page 26 of 71



                                                                                                      Date:   10/14/21
                                                                                                         :
                                                 Balance Sheet as of 09/30/21                         Time:     13:07


Account Name                                                               Balance

Assets


Current Assets - Current Assets



Cash & Equiv. - Cash & Equivalents



11320000-00-000-00 - GFB Operating Bank – Chase – 6529                     $ 12,223.58
11330000-00-000-00 - GFB Licensing Depository - Chase - 6537               $ 1,570.24
11460000-00-000-00 - GFB - Holding Bank - Chase - 1879                     $ 44,479.41
                                                                           __________________
Total Cash & Equiv. - Cash & Equivalents                                   $ 58,273.23

                                                                           -------------


Accounts Receiv - Accounts Receivable



12100000-00-000-00 - Accounts Receivable                                   $ 1,250,562.51
12700000-00-000-00 - Stapleton – Receivable                                $ (47,905.34)
12900000-00-000-00 - Other Receivables                                     $ 51,453.36
                                                                           __________________
Total Accounts Receiv - Accounts Receivable                                $ 1,254,110.53
                                                                           -------------


Inventories - Inventory



13140000-00-000-00 - Ingredients - Inventory                               $ 208,817.38
13180000-00-000-00 - Retail Operating Supplies & Disposables - Inventory   $ 10,462.14
13190000-00-000-00 - Signature RTD - Inventory                             $ 220,190.05




Page       1       Continued on next page
               Case 21-12228             Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                     Document     Page 27 of 71



                                                                                                     Date:   10/14/21
                                                                                                        :
Continue                                         Balance Sheet as of 09/30/21                        Time:     13:07


Account Name                                                        Balance
13210000-00-000-00 - Tea - Inventory                                $ 168,761.44
13230000-00-000-00 - RTD & BIB Packaging - Inventory                $ 310,188.03
13260000-00-000-00 - Signature BIB - Inventory                      $ 43,320.65

                                                                    __________________
Total Inventories - Inventory                                       $ 961,739.69

                                                                    -------------


Prepaid Expense - Prepaid Expense



14500000-00-000-00 - Prepaid Insurance                              $ 12,253.17
14600000-00-000-00 - Other Prepaid Expenses                         $ 19,583.50

                                                                    __________________
Total Prepaid Expense - Prepaid Expense                             $ 31,836.67
                                                                    -------------


Other Current A - Due From Affiliate



                                                                    __________________
Total Other Current A - Due From Affiliate

                                                                    -------------



                                                                    __________________
Total Current Assets - Current Assets                               $ 2,305,960.12
                                                                    -------------


Fixed Assets - Fixed Assets




Page       2       Continued on next page
               Case 21-12228             Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                        Document     Page 28 of 71



                                                                                                        Date:   10/14/21
                                                                                                           :
Continue                                        Balance Sheet as of 09/30/21                            Time:     13:07


Account Name                                                           Balance
LH Improve - Leasehold Improvements



16100000-00-000-00 - Architect & Plans                                 $ 8,500.00

                                                                       __________________
Total LH Improve - Leasehold Improvements                              $ 8,500.00

                                                                       -------------


Prop. & Equip. - Property & Equipment



17000000-00-000-00 - Computer & Software Equipment - Assets            $ 12,784.03
17100000-00-000-00 - Retail Store Equipment - Assets                   $ 54,917.67
17200000-00-000-00 - Production Equipment - Assets                     $ 150,000.00
17300000-00-000-00 - Furniture, Fixtures & Signage - Assets            $ 2,298.30
17800000-00-000-00 - Accumulated Depreciation                          $ (45,081.49)
                                                                       __________________
Total Prop. & Equip. - Property & Equipment                            $ 174,918.51
                                                                       -------------


                                                                       __________________
Total Fixed Assets - Fixed Assets                                      $ 183,418.51
                                                                       -------------


L/T Assets - Long Term Assets



Other L/T Asset - Other Assets



                                                                       __________________




Page       3       Continued on next page
               Case 21-12228             Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                    Document     Page 29 of 71



                                                                                                    Date:   10/14/21
                                                                                                       :
Continue                                       Balance Sheet as of 09/30/21                         Time:     13:07


Account Name                                                       Balance
Total Other L/T Asset - Other Assets

                                                                   -------------
                                                                   __________________

Total L/T Assets - Long Term Assets
                                                                   -------------

                                                                   __________________
Total Assets                                                       $ 2,489,378.63
                                                                   __________________
                                                                   $ 2,489,378.63
                                                                   =============



Liabilities


Current Liabs - Current Liabilities



Accounts Payabl - Accounts Payable



21100000-00-000-00 - Accounts Payable                              $ 1,340,709.61
21110000-00-000-00 - Goods Received Not Invoiced                   $ 21,247.39
                                                                   __________________
Total Accounts Payabl - Accounts Payable                           $ 1,361,957.00

                                                                   -------------


Credit Cards - Credit Card Liabilities



                                                                   __________________
Total Credit Cards - Credit Card Liabilities




Page      4        Continued on next page
              Case 21-12228            Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                  Document     Page 30 of 71



                                                                                                  Date:   10/14/21
                                                                                                     :
Continue                                     Balance Sheet as of 09/30/21                         Time:     13:07


Account Name                                                     Balance

                                                                 -------------


Club Cards - Gift Cards



                                                                 __________________
Total Club Cards - Gift Cards

                                                                 -------------


Other Credit - Other Current Maturities



                                                                 __________________
Total Other Credit - Other Current Maturities

                                                                 -------------


Sales Tax Payab - Sales Tax Payable



22300000-00-000-00 - ST-1                                        $ 373.99
                                                                 __________________
Total Sales Tax Payab - Sales Tax Payable                        $ 373.99
                                                                 -------------


Accrued Expense - Accrued Expenses



22400001-00-000-00 - Accrued Payroll                             $ 13,778.79
22400002-00-000-00 - Accrued Benefits Programs                   $ 1,513.62
22400003-00-000-00 - Accrued Bonuses & Commissions               $ 30,283.12
22400004-00-000-00 - Accrued Expense Reimbursements              $ 12,688.92




Page      5        Continued on next page
               Case 21-12228            Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                   Document     Page 31 of 71



                                                                                                   Date:   10/14/21
                                                                                                      :
Continue                                      Balance Sheet as of 09/30/21                         Time:     13:07


Account Name                                                      Balance
22410000-00-000-00 - Other Accrued Expenses                       $ 178,433.40
22430000-00-000-00 - Accrued 401k Liability                       $ (10,931.66)
22440000-00-000-00 - Accrued Payroll Tax                          $ 6,353.10
22470000-00-000-00 - Accrued Manufacturing Fee                    $ 6,556.08
22490000-00-000-00 - Accrued Operating Expenses                   $ 57,648.58

                                                                  __________________
Total Accrued Expense - Accrued Expenses                          $ 296,323.95
                                                                  -------------


Deferred Revenu - Deferred Revenue



                                                                  __________________
Total Deferred Revenu - Deferred Revenue

                                                                  -------------


                                                                  __________________
Total Current Liabs - Current Liabilities                         $ 1,658,654.94
                                                                  -------------


L/Term Liabs - Long Term Liabilities



Notes Payabl-LT - Notes Payable - Long Term



                                                                  __________________
Total Notes Payabl-LT - Notes Payable - Long Term

                                                                  -------------




Page       6       Continued on next page
                Case 21-12228        Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                 Document     Page 32 of 71



                                                                                                 Date:   10/14/21
                                                                                                    :
Continue                                   Balance Sheet as of 09/30/21                          Time:     13:07


Account Name                                                    Balance
Capital Leases - Capital Leases - Long Term



                                                                __________________
Total Capital Leases - Capital Leases - Long Term

                                                                -------------


Corp. Structure - Corporate Structure Debt & Other



                                                                __________________
Total Corp. Structure - Corporate Structure Debt & Other

                                                                -------------

                                                                __________________
Total L/Term Liabs - Long Term Liabilities
                                                                -------------
                                                                __________________
Total Liabilities                                               $ 1,658,654.94
Equity


Equity - Equity



Common Stock - Common Stock



                                                                __________________
Total Common Stock - Common Stock

                                                                -------------


Preferred Stock - Preferred Stock




Page       7        Continued on next page
                Case 21-12228             Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                                      Document     Page 33 of 71



                                                                                                      Date:   10/14/21
                                                                                                         :
Continue                                        Balance Sheet as of 09/30/21                          Time:     13:07


Account Name                                                         Balance


31110000-00-000-00 - A-Series Preferred Stock                        $ 2.60
31130000-00-000-00 - A-1 Series Preferred Stock                      $ 91.17

                                                                     __________________
Total Preferred Stock - Preferred Stock                              $ 93.77

                                                                     -------------


Paid-In Capital - Paid-In Capital



31120000-00-000-00 - APIC A-Series Preferred Stock                   $ 179,414.47
31140000-00-000-00 - APIC A-1 Series Preferred Stock                 $ 3,149,908.59

                                                                     __________________
Total Paid-In Capital - Paid-In Capital                              $ 3,329,323.06
                                                                     -------------


Retained Earnin - Retained Earnings



                                                                     __________________
Total Retained Earnin - Retained Earnings

                                                                     -------------
                                                                     __________________

Total Equity - Equity                                                $ 3,329,416.83
                                                                     -------------
Profit Period                                                        $ (2,498,693.14)
                                                                     __________________
Total Equity                                                         $ 830,723.69
                                                                     __________________




Page        8      Continued on next page
           Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                                    Document     Page 34 of 71



                                                                                    Date:   10/14/21
                                                                                       :
Continue                      Balance Sheet as of 09/30/21                          Time:     13:07


Account Name                                       Balance

                                                   $ 2,489,378.63
                                                   =============




Page   9
                          Case 21-12228                Doc 1           Filed 10/27/21 Entered 10/27/21 10:44:51     Desc Main
                                                                        Document     Page 35 of 71




                                                                                                                            Date         10/14/21
                                                                 Profit and Loss Statement                                  Time         13:06

                                                             From           01/01/21 To 09/30/21

Account Name                                                                                 Balance                      Year-to-Date

Revenues


Income - Income



Sales - Sales - Product Sales



41100000-00-000-00 - Alternative RTD - Sales                                                                  $ 381.35                           $ 381.35
41110000-00-000-00 - Coffee Drinks - Sales                                                                   $ 2,131.49                      $ 2,131.49
41140000-00-000-00 - Ingredients - Sales                                                                    $ 19,839.84                     $ 19,839.84
41170000-00-000-00 - Signature Drink & BIB - Sales                                                          $ 32,793.90                     $ 32,793.90
41180000-00-000-00 - Retail Operating Supplies & Disposables - Sales                                        $ 16,406.27                     $ 16,406.27
41190000-00-000-00 - Signature RTD - Sales                                                               $ 1,997,348.89                  $ 1,997,348.89
41200000-00-000-00 - Food & Impulse - Sales                                                                 $ 13,780.99                     $ 13,780.99
41210000-00-000-00 - Tea - Sales                                                                            $ 18,944.93                     $ 18,944.93
                                                                                                   __________________              __________________
Total Sales - Sales - Product Sales                                                                      $ 2,101,627.66                  $ 2,101,627.66
                                                                                                       -------------                   -------------


Licensing Fees - Licensing Fees



41300000-00-000-00 - Licensing Fees                                                                        $ 101,197.22                    $ 101,197.22
41310000-00-000-00 - Royalty Fees                                                                           $ 68,195.54                     $ 68,195.54
41320000-00-000-00 - Marketing Fees                                                                          $ 1,980.00                      $ 1,980.00
                                                                                                   __________________              __________________


   Page         1         Continued on next page
                        Case 21-12228                  Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                                 Document     Page 36 of 71




                                                                                                                      Date         10/14/21
Continue                                                       Profit and Loss Statement                              Time         13:06

                                                          From       01/01/21 To 09/30/21
Account Name                                                                          Balance                       Year-to-Date
Total Licensing Fees - Licensing Fees                                                               $ 171,372.76                     $ 171,372.76

                                                                                                -------------                    -------------


Rev Adjustments - Revenue Adjustments



42200000-00-000-00 - CPG - Off Invoice                                                              $ (14,878.08)                    $ (14,878.08)
42210000-00-000-00 - CPG - Manufacturer Chargeback                                                 $ (195,376.25)                   $ (195,376.25)
42220000-00-000-00 - CPG - Scans                                                                    $ (21,097.05)                    $ (21,097.05)
42330000-00-000-00 - CPG - Spoilage Allowances                                                       $ (2,700.00)                     $ (2,700.00)
42230000-00-000-00 - CPG - Other Deductions                                                            $ (169.67)                          $ (169.67)
42315000-00-000-00 - CPG - Placement / New Item Fees                                                $ (33,047.57)                    $ (33,047.57)
42320000-00-000-00 - AR Cash Discounts                                                              $ (20,875.80)                    $ (20,875.80)
                                                                                            __________________               __________________
Total Rev Adjustments - Revenue Adjustments                                                        $ (288,144.42)                   $ (288,144.42)
                                                                                                -------------                    -------------


Shp&Hndl Reven - Shipping & Handling Revenue



42300000-00-000-00 - Shipping & Handling Revenue                                                      $ 2,196.13                       $ 2,196.13
                                                                                            __________________               __________________
Total Shp&Hndl Reven - Shipping & Handling Revenue                                                    $ 2,196.13                       $ 2,196.13
                                                                                                -------------                    -------------


Other Revenue - Other Revenue




   Page        2         Continued on next page
                        Case 21-12228                Doc 1        Filed 10/27/21 Entered 10/27/21 10:44:51       Desc Main
                                                                   Document     Page 37 of 71




                                                                                                                         Date         10/14/21
Continue                                                      Profit and Loss Statement                                  Time         13:06

                                                           From        01/01/21 To 09/30/21
Account Name                                                                            Balance                        Year-to-Date
42310000-00-000-00 - Other Revenue                                                                           $ 4.70                              $ 4.70

                                                                                              __________________                __________________
Total Other Revenue - Other Revenue                                                                          $ 4.70                              $ 4.70
                                                                                                  -------------                     -------------

                                                                                              __________________                __________________
Total Income - Income                                                                               $ 1,987,056.83                    $ 1,987,056.83

                                                                                                  -------------                     -------------
                                                                                              __________________                __________________
Total Revenues                                                                                      $ 1,987,056.83                    $ 1,987,056.83


Cost of Sales


COGS - Cost of Goods Sold



Cost of Goods S - Cost of Goods Sold



51100000-00-000-00 - Alternative RTD - COGS                                                               $ (343.87)                          $ (343.87)
51110000-00-000-00 - Coffee - COGS                                                                      $ (1,691.90)                      $ (1,691.90)
51140000-00-000-00 - Ingredients - COGS                                                                $ (11,163.63)                     $ (11,163.63)
51190000-00-000-00 - Retail Operating Supplies & Disposables - COGS                                    $ (15,181.64)                     $ (15,181.64)
51200000-00-000-00 - Signature RTD - COGS                                                           $ (1,028,099.65)                  $ (1,028,099.65)
51210000-00-000-00 - Food & Impulse - COGS                                                             $ (14,262.16)                     $ (14,262.16)
51220000-00-000-00 - Tea - COGS                                                                         $ (7,254.56)                      $ (7,254.56)
51230000-00-000-00 - Signature BIB - COGS                                                              $ (21,308.85)                     $ (21,308.85)
                                                                                              __________________                __________________



  Page         3        Continued on next page
                         Case 21-12228             Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51       Desc Main
                                                              Document     Page 38 of 71




                                                                                                                    Date         10/14/21
Continue                                                    Profit and Loss Statement                               Time         13:06

                                                           From   01/01/21 To 09/30/21
Account Name                                                                       Balance                        Year-to-Date
Total Cost of Goods S - Cost of Goods Sold                                                     $ (1,099,306.26)                  $ (1,099,306.26)

                                                                                             -------------                     -------------


Waste & Varianc - Waste & Variance



52100000-00-000-00 - Waste (recorded)                                                             $ (85,606.55)                     $ (85,606.55)
52110000-00-000-00 - Variance                                                                      $ (5,180.81)                      $ (5,180.81)
                                                                                         __________________                __________________
Total Waste & Varianc - Waste & Variance                                                          $ (90,787.36)                     $ (90,787.36)
                                                                                             -------------                     -------------


Ship & Hnd COGS - Shipping & Handling COGS



53100000-00-000-00 - Shipping & Handling Outbound - COGS                                        $ (309,237.92)                    $ (309,237.92)
53110000-00-000-00 - Shipping & Handling Inbound - COGS                                         $ (169,143.43)                    $ (169,143.43)
                                                                                         __________________                __________________
Total Ship & Hnd COGS - Shipping & Handling COGS                                                $ (478,381.35)                    $ (478,381.35)
                                                                                             -------------                     -------------
                                                                                         __________________                __________________
Total COGS - Cost of Goods Sold                                                                $ (1,668,474.97)                  $ (1,668,474.97)
                                                                                             -------------                     -------------
                                                                                         __________________                __________________
Total Cost of Sales                                                                            $ (1,668,474.97)                  $ (1,668,474.97)


                                                                                         __________________                __________________



   Page        4         Continued on next page
                         Case 21-12228              Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                              Document     Page 39 of 71




                                                                                                                   Date         10/14/21
Continue                                                    Profit and Loss Statement                              Time         13:06

                                                       From       01/01/21 To 09/30/21
Account Name                                                                       Balance                       Year-to-Date
Gross Profit                                                                                     $ 318,581.86                     $ 318,581.86

Expenses


Dir. Operating - Direct Operating Expenses



Supplies - Supplies



61100000-00-000-00 - Operating Supplies                                                             $ (153.56)                          $ (153.56)
                                                                                         __________________               __________________
Total Supplies - Supplies                                                                           $ (153.56)                          $ (153.56)
                                                                                             -------------                    -------------


Services - Services



61290000-00-000-00 - Warehousing Expenses                                                        $ (68,354.02)                    $ (68,354.02)
61410000-00-000-00 - Shipping & Handling Expenses                                               $ (177,129.80)                   $ (177,129.80)
                                                                                         __________________               __________________
Total Services - Services                                                                       $ (245,483.82)                   $ (245,483.82)
                                                                                             -------------                    -------------


Cash Management - Cash Management



                                                                                         __________________               __________________
Total Cash Management - Cash Management

                                                                                             -------------                    -------------



   Page        5         Continued on next page
                       Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                          Document     Page 40 of 71




                                                                                                               Date         10/14/21
Continue                                                Profit and Loss Statement                              Time         13:06

                                                     From     01/01/21 To 09/30/21
Account Name                                                                   Balance                       Year-to-Date


Royalty Expense - Royalty Expense



                                                                                     __________________               __________________
Total Royalty Expense - Royalty Expense

                                                                                         -------------                    -------------



                                                                                     __________________               __________________
Total Dir. Operating - Direct Operating Expenses                                            $ (245,637.38)                   $ (245,637.38)
                                                                                         -------------                    -------------


Payroll & Bene. - Payroll & Benefits



Retail Wages - Retail Wages & Salaries



                                                                                     __________________               __________________
Total Retail Wages - Retail Wages & Salaries

                                                                                         -------------                    -------------


Management Sala - Retail Management Salaries



                                                                                     __________________               __________________
Total Management Sala - Retail Management Salaries

                                                                                         -------------                    -------------




  Page        6        Continued on next page
                         Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                            Document     Page 41 of 71




                                                                                                                 Date         10/14/21
Continue                                                  Profit and Loss Statement                              Time         13:06

                                                     From       01/01/21 To 09/30/21
Account Name                                                                     Balance                       Year-to-Date
Corp Salaries - Corporate Salaries



62200000-00-000-00 - Corporate Salaries                                                       $ (466,352.67)                   $ (466,352.67)
                                                                                       __________________               __________________
Total Corp Salaries - Corporate Salaries                                                      $ (466,352.67)                   $ (466,352.67)
                                                                                           -------------                    -------------


Payroll Taxes - Payroll Taxes



62400000-00-000-00 - FICA Expense                                                              $ (16,818.99)                    $ (16,818.99)
62410000-00-000-00 - State Unemployment Tax                                                     $ (2,127.35)                     $ (2,127.35)
62420000-00-000-00 - Fed Unemployment Tax                                                         $ (156.77)                          $ (156.77)
                                                                                       __________________               __________________
Total Payroll Taxes - Payroll Taxes                                                            $ (19,103.11)                    $ (19,103.11)
                                                                                           -------------                    -------------


Payroll Process - Payroll Processing Fees



62500000-00-000-00 - Payroll Processing Fees                                                    $ (1,778.74)                     $ (1,778.74)
                                                                                       __________________               __________________
Total Payroll Process - Payroll Processing Fees                                                 $ (1,778.74)                     $ (1,778.74)
                                                                                           -------------                    -------------


Bonuses & Commi - Bonuses & Commissions




   Page         7        Continued on next page
                        Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                           Document     Page 42 of 71




                                                                                                                Date         10/14/21
Continue                                                 Profit and Loss Statement                              Time         13:06

                                                    From       01/01/21 To 09/30/21
Account Name                                                                    Balance                       Year-to-Date
62600000-00-000-00 - Sales Commissions                                                        $ (44,928.93)                    $ (44,928.93)

                                                                                      __________________               __________________
Total Bonuses & Commi - Bonuses & Commissions                                                 $ (44,928.93)                    $ (44,928.93)
                                                                                          -------------                    -------------


Benefits - Benefits



62610000-00-000-00 - Employee Benefits                                                        $ (18,079.99)                    $ (18,079.99)
                                                                                      __________________               __________________
Total Benefits - Benefits                                                                     $ (18,079.99)                    $ (18,079.99)
                                                                                          -------------                    -------------


                                                                                      __________________               __________________

Total Payroll & Bene. - Payroll & Benefits                                                   $ (550,243.44)                   $ (550,243.44)
                                                                                          -------------                    -------------


LH & Occupancy - Leaseholds & Occupancy



Leaseholds - Leaseholds



                                                                                      __________________               __________________
Total Leaseholds - Leaseholds

                                                                                          -------------                    -------------


Utilities - Utilities



   Page         8       Continued on next page
                          Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51    Desc Main
                                                             Document     Page 43 of 71




                                                                                                               Date         10/14/21
Continue                                                   Profit and Loss Statement                           Time         13:06

                                                      From       01/01/21 To 09/30/21
Account Name                                                                      Balance                    Year-to-Date



                                                                                        __________________            __________________
Total Utilities - Utilities

                                                                                            -------------                 -------------



                                                                                        __________________            __________________

Total LH & Occupancy - Leaseholds & Occupancy
                                                                                            -------------                 -------------


Repairs & Maint - Repairs & Maintenance



Equip & Facilit - Equipment & Facilities



                                                                                        __________________            __________________
Total Equip & Facilit - Equipment & Facilities

                                                                                            -------------                 -------------


                                                                                        __________________            __________________
Total Repairs & Maint - Repairs & Maintenance
                                                                                            -------------                 -------------


Sales & Market. - Sales & Marketing



Sales & Distrib - Sales & Distribution




   Page         9         Continued on next page
                         Case 21-12228               Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                               Document     Page 44 of 71




                                                                                                                    Date         10/14/21
Continue                                                     Profit and Loss Statement                              Time         13:06

                                                        From       01/01/21 To 09/30/21
Account Name                                                                        Balance                       Year-to-Date
                                                                                          __________________               __________________
Total Sales & Distrib - Sales & Distribution

                                                                                              -------------                    -------------


Sales & Marketi - Sampling



65110000-00-000-00 - Sampling Product & Supplies                                                   $ (2,449.63)                     $ (2,449.63)
65120000-00-000-00 - Collateral Posters & Displays                                                $ (16,215.68)                    $ (16,215.68)
                                                                                          __________________               __________________
Total Sales & Marketi - Sampling                                                                  $ (18,665.31)                    $ (18,665.31)
                                                                                              -------------                    -------------


Promotions - Promotions & Data



65210000-00-000-00 - Discounts                                                                     $ (1,503.48)                     $ (1,503.48)
                                                                                          __________________               __________________
Total Promotions - Promotions & Data                                                               $ (1,503.48)                     $ (1,503.48)
                                                                                              -------------                    -------------


Marketing - Marketing



65220000-00-000-00 - Market Research                                                               $ (7,549.22)                     $ (7,549.22)
65300000-00-000-00 - PR/Advertising                                                               $ (39,591.67)                    $ (39,591.67)
65310000-00-000-00 - Digital Marketing                                                            $ (75,000.14)                    $ (75,000.14)
65320000-00-000-00 - Graphic Designer Fees                                                         $ (3,712.50)                     $ (3,712.50)



   Page         10       Continued on next page
                         Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                            Document     Page 45 of 71




                                                                                                                 Date         10/14/21
Continue                                                  Profit and Loss Statement                              Time         13:06

                                                        From    01/01/21 To 09/30/21
Account Name                                                                     Balance                       Year-to-Date
65340000-00-000-00 - Dues & Subscriptions                                                       $ (1,854.21)                     $ (1,854.21)
65350000-00-000-00 - Tradeshows & Events                                                        $ (7,331.07)                     $ (7,331.07)
                                                                                       __________________               __________________
Total Marketing - Marketing                                                                   $ (135,038.81)                   $ (135,038.81)

                                                                                           -------------                    -------------



                                                                                       __________________               __________________
Total Sales & Market. - Sales & Marketing                                                     $ (155,207.60)                   $ (155,207.60)
                                                                                           -------------                    -------------


Gen. & Admin. - General & Administrative



Administrative - Administrative



66110000-00-000-00 - Legal Services                                                            $ (56,819.15)                    $ (56,819.15)
66120000-00-000-00 - Outsourced Services                                                       $ (25,730.14)                    $ (25,730.14)
                                                                                       __________________               __________________
Total Administrative - Administrative                                                          $ (82,549.29)                    $ (82,549.29)
                                                                                           -------------                    -------------


Application & S - Application & System Services



66220000-00-000-00 - Outsourced Applications                                                   $ (11,031.17)                    $ (11,031.17)
                                                                                       __________________               __________________
Total Application & S - Application & System Services                                          $ (11,031.17)                    $ (11,031.17)



   Page        11        Continued on next page
                         Case 21-12228                Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                                Document     Page 46 of 71




                                                                                                                     Date         10/14/21
Continue                                                      Profit and Loss Statement                              Time         13:06

                                                         From       01/01/21 To 09/30/21
Account Name                                                                         Balance                       Year-to-Date
                                                                                               -------------                    -------------


Licenses & Perm - Licenses & Permits



66500000-00-000-00 - Business Licenses & Permits                                                    $ (3,104.19)                     $ (3,104.19)
                                                                                           __________________               __________________
Total Licenses & Perm - Licenses & Permits                                                          $ (3,104.19)                     $ (3,104.19)
                                                                                               -------------                    -------------


Insurance - Insurance



63310000-00-000-00 - Business Insurance                                                            $ (16,207.70)                    $ (16,207.70)
62650000-00-000-00 - Workers Compensation Insurance                                                 $ (1,428.50)                     $ (1,428.50)

                                                                                           __________________               __________________
Total Insurance - Insurance                                                                        $ (17,636.20)                    $ (17,636.20)
                                                                                               -------------                    -------------


Office - Office



66400000-00-000-00 - Bank Fees & Charges                                                              $ (524.12)                          $ (524.12)
66660000-00-000-00 - Office Supplies                                                                $ (3,000.83)                     $ (3,000.83)
                                                                                           __________________               __________________
Total Office - Office                                                                               $ (3,524.95)                     $ (3,524.95)
                                                                                               -------------                    -------------




   Page         12       Continued on next page
                         Case 21-12228                Doc 1       Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                                   Document     Page 47 of 71




                                                                                                                        Date         10/14/21
Continue                                                         Profit and Loss Statement                              Time         13:06

                                                            From       01/01/21 To 09/30/21
Account Name                                                                            Balance                       Year-to-Date
Telco Services - Telco Services



66710000-00-000-00 - Cell Phone                                                                        $ (1,140.00)                     $ (1,140.00)
66730000-00-000-00 - Internet & Data                                                                       $ (5.96)                          $ (5.96)

                                                                                              __________________               __________________
Total Telco Services - Telco Services                                                                  $ (1,145.96)                     $ (1,145.96)

                                                                                                  -------------                    -------------


Auto Expense - Auto Expense



66820000-00-000-00 - Mileage & Parking                                                                 $ (1,183.85)                     $ (1,183.85)
                                                                                              __________________               __________________
Total Auto Expense - Auto Expense                                                                      $ (1,183.85)                     $ (1,183.85)

                                                                                                  -------------                    -------------


Travel & Entert - Travel & Entertainment



66900000-00-000-00 - Airfare                                                                           $ (7,954.79)                     $ (7,954.79)
66910000-00-000-00 - Car Rental Taxi & Business Transportation                                         $ (5,106.82)                     $ (5,106.82)
66920000-00-000-00 - Lodging                                                                           $ (6,071.13)                     $ (6,071.13)
66930000-00-000-00 - Business Meals                                                                    $ (3,117.81)                     $ (3,117.81)
66940000-00-000-00 - Business Entertainment                                                            $ (2,484.27)                     $ (2,484.27)
                                                                                              __________________               __________________
Total Travel & Entert - Travel & Entertainment                                                        $ (24,734.82)                    $ (24,734.82)
                                                                                                  -------------                    -------------



   Page         13       Continued on next page
                        Case 21-12228                 Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51       Desc Main
                                                                Document     Page 48 of 71




                                                                                                                      Date         10/14/21
Continue                                                      Profit and Loss Statement                               Time         13:06

                                                         From       01/01/21 To 09/30/21
Account Name                                                                         Balance                        Year-to-Date
                                                                                           __________________                __________________

Total Gen. & Admin. - General & Administrative                                                    $ (144,910.43)                    $ (144,910.43)
                                                                                               -------------                     -------------
                                                                                           __________________                __________________
Total Expenses                                                                                   $ (1,095,998.85)                  $ (1,095,998.85)



                                                                                           __________________                __________________
Operating Profit                                                                                  $ (777,416.99)                    $ (777,416.99)
Financing
                                                                                           __________________                __________________
Total Financing



                                                                                           __________________                __________________

Profit After Financing Expenses                                                                   $ (777,416.99)                    $ (777,416.99)
Other Revenues and Expenses


One Time & Inv - One Time & Investing Expenses



Open/Close Stor - Open & Close Store Expenses



80170000-00-000-00 - Store Opening/Closing Expenses                                                    $ (254.00)                          $ (254.00)
                                                                                           __________________                __________________
Total Open/Close Stor - Open & Close Store Expenses                                                    $ (254.00)                          $ (254.00)
                                                                                               -------------                     -------------




  Page         14       Continued on next page
                         Case 21-12228                   Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                                   Document     Page 49 of 71




                                                                                                                        Date         10/14/21
Continue                                                         Profit and Loss Statement                              Time         13:06

                                                            From       01/01/21 To 09/30/21
Account Name                                                                            Balance                       Year-to-Date
Operating - Operating



80210000-00-000-00 - New Product Development Expenses                                                 $ (28,457.28)                    $ (28,457.28)
                                                                                              __________________               __________________
Total Operating - Operating                                                                           $ (28,457.28)                    $ (28,457.28)
                                                                                                  -------------                    -------------



                                                                                              __________________               __________________
Total One Time & Inv - One Time & Investing Expenses                                                  $ (28,711.28)                    $ (28,711.28)
                                                                                                  -------------                    -------------


Other Income/Ex - Other Income/Expense



80310000-00-000-00 - Interest Expense/Finance Charges                                                    $ (139.54)                          $ (139.54)
80330000-00-000-00 - Other Expense                                                                    $ (14,916.72)                    $ (14,916.72)
80340000-00-000-00 - Gain or Loss on Sale Fixed Assets                                                $ 394,194.38                     $ 394,194.38
80360000-00-000-00 - Depreciation & Amortization                                                      $ (25,372.71)                    $ (25,372.71)
                                                                                              __________________               __________________
Total Other Income/Ex - Other Income/Expense                                                          $ 353,765.41                     $ 353,765.41
                                                                                                  -------------                    -------------


Corporate Taxes - Corporate Taxes



                                                                                              __________________               __________________
Total Corporate Taxes - Corporate Taxes



   Page        15        Continued on next page
                     Case 21-12228            Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51      Desc Main
                                                        Document     Page 50 of 71




                                                                                                             Date         10/14/21
Continue                                              Profit and Loss Statement                              Time         13:06

                                                 From       01/01/21 To 09/30/21
Account Name                                                                 Balance                       Year-to-Date
                                                                                       -------------                    -------------


OpeningBalance - Opening Balance



Opening Balance - Opening Balance



                                                                                   __________________               __________________
Total Opening Balance - Opening Balance

                                                                                       -------------                    -------------
                                                                                   __________________               __________________
Total OpeningBalance - Opening Balance
                                                                                       -------------                    -------------
                                                                                   __________________               __________________
Total Other Revenues and Expenses                                                          $ 325,054.13                     $ 325,054.13


                                                                                   __________________               __________________
Profit Period                                                                             $ (452,362.86)                   $ (452,362.86)
#9
                                                                                   __________________               __________________
Total #9



                                                                                   __________________               __________________
                                                                                          $ (452,362.86)                   $ (452,362.86)
#10
                                                                                   __________________               __________________



     Page    16      Continued on next page
                 Case 21-12228   Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51       Desc Main
                                           Document     Page 51 of 71




                                                                                                 Date         10/14/21
Continue                                 Profit and Loss Statement                               Time         13:06

                                    From       01/01/21 To 09/30/21
Account Name                                                    Balance                        Year-to-Date
Total #10



                                                                      __________________                __________________
                                                                              $ (452,362.86)                   $ (452,362.86)

                                                                          =============                   =============




  Page      17
                                      Case 21-12228              Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51                  Desc Main
                                                                             Document     Page 52 of 71

Golden Fleece Beverages, Inc.
Cash Flow Statement
1/1/21 to 9/30/21

Cashflow from Operating Activities                                                      (1,120,632.20)
Payments for Invoices from Customers                                  1,132,417.33
Payments from Customers - CPG                          904,196.22
Payments from Customers - Licensing & Other            228,221.11
Down Payments Received from Customers
Purchase Credit Memos Paid by Vendors
Down Payments to Vendors
Sales Credit Memos Paid to Customers
Cash Paid for Rent
Cash Paid for Electricity
Cash Paid for Phones
Payments to Employees, e.g. Wages                                        (499,374.45)
Other Operating Payments
Corporate Income Tax Paid
VAT Paid
Interest Paid - Operating Activities
Payments for Invoices to Vendors                                      (1,753,675.08)
Payments for Invoices - CPG Working Capital            (957,344.25)
Payments for Invoices - Other                          (796,330.83)


Cashflow from Investing Activities                                                        558,193.93
Payments for Purchase of the Fixed Assets                (8,500.00)
Payments for Purchase of Shares/Obligations
Payments from Sale of Fixed Assets                     566,693.93
Payments from Sale of Shares/Obligations
Dividends Received - Investing Activities
Interest Received - Investing Activities

Cashflow from Financing Activities                                                          (9,159.51)
Payments/Receipts for Purchase of Shares/Obligations     (9,159.51)
Payments/Receipts from Long-term Borrowings
Payment for Finance Lease Liabilities
Redemption of Shares
Repayment of Loans
Dividend Paid
Interest Received - Financing Activities
Interest Paid - Financing Activities
                                                                                                                                                6529        6537     6552      1879
Net Cash Flow                                                                            (571,597.78)    1/1/21 Bank Balance    629,871.01   305,003.42        -        -   324,867.59
                                                                                                         9/30/21 Bank Balance    58,273.23    12,223.58   1,570.24      -    44,479.41
                                                                                                                                571,597.78
                                                                               Case 21-12228                             Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51                                                     Desc Main
                                                                                                                            U.S. Corporation
                                                                                                                                   Document Income      Tax
                                                                                                                                                Page 53 of 71 Return
                                                                     1120
                                                                                                                                                                                                                                                    OMB No. 1545-0123

Form                                                                                      For calendar year 2020 or tax year beginning   JANUARY 15, 2020                          , ending   DECEMBER 31, 2020
Department of the Treasury
Internal Revenue Service                                                                                                   | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                 2020
A Check if:                                                                                                      Name                                                                                                               B   Employer identification number
1a Consolidated return
   (attach Form 851) ......                                                                                              GOLDEN FLEECE BEVERAGES                                                                                        XX-XXXXXXX
 b Life/nonlife consoli-                                                                         TYPE                                                                                                                               C   Date incorporated
   dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
2 Personal holding co.                                                                           OR
   (attach Sch. PH) ........
                                                                                                 PRINT
                                                                                                                         250 E PEARSON STREET #1601                                                                                     01/15/2020
3 Personal service corp.                                                                                                                                                                                                            D   Total assets (see instructions)
   (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
4 Schedule M-3
   attached ...................                                                                                  CHICAGO, IL                            60611                                                                       $         2,126,591.
                                                                                                   E Check if: (1) X Initial return (2)                  Final return      (3)          Name change         (4)        Address change
                                                                      1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1a          1,751,973.
                                                                        b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~           1b                                                            46,283.
                                                                       c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c             1,705,690.
                                                                      2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2             1,272,126.
                                                                      3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3               433,564.
                                                                      4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Income




                                                                                                                                                                                                                                4
                                                                      5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5
                                                                      6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                      7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                      8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                      9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9               509,412.
                                                                     10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    SEE STATEMENT 1                                                              10               191,627.
                                                                     11 Total income. Add lines 3 through 10                        |                                                        11             1,134,603.
                                                                     12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12
                                                                                                                                                                                                                                                    950,712.
      Deductions (See instructions for limitations on deductions.)




                                                                     13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                     14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14
                                                                     15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15                       5,249.
                                                                     16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                       4,831.
                                                                                                                           SEE STATEMENT 2
                                                                     17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17                      25,148.
                                                                     18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18                         603.
                                                                     19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    19
                                                                     20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                      81,499.
                                                                     21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                     22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22                      45,227.
                                                                     23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23
                                                                     24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                      28,686.
                                                                     25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                                                                               SEE STATEMENT 3
                                                                     26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26            1,762,867.
                                                                     27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27            2,904,822.
                                                                     28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28           -1,770,219.
                                                                     29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                          29a
                                                                        b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~             29b
                                                                       c Add lines 29a and 29b                                                                                     29c
                                                                     30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30           -1,770,219.
 Tax, Refundable Credits,




                                                                     31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                    0.
                                                                     32 2020 net 965 tax liability paid (Schedule J, Part II, line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             32
      and Payments




                                                                     33 Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~                                             33
                                                                     34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ |                                                            34
                                                                     35 Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed ~~~~~~~~~~~~                                              35                                    0.
                                                                     36 Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid ~~~~~~~~~~~~                                           36
                                                                     37 Enter amount from line 36 you want: Credited to 2021 estimated tax |                                                           Refunded         |      37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                             correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                        May the IRS discuss this



                                                                            =                                                                                            =PRESIDENT
                                                                                                                                                                                                                                            return with the preparer
                                                                                                                                                                                                                                            shown below?
Here                                                                                                                                                                                                                                             X Yes
                                                                                Signature of officer                                             Date                                                                                                                 No
                                                                                                                                                                           Title
                                                                            Print/Type preparer's name                                            Preparer's signature                            Date                  Check                PTIN
Paid     ROBERT H. MINSHALL                 ROBERT H. MINSHALL 10/15/21                                                                                                                                                 if self-
                                                                                                                                                                                                                        employed

Preparer Firm's name |   FGMK, LLC                                                                                                                                                                                      Firm's EIN   |      XX-XXXXXXX
Use Only Firm's address |2801 LAKESIDE DRIVE, 3RD FLOOR                                                                                                                                                                 Phone no.
                         BANNOCKBURN, IL 60015                                                                                                                                                                                 847-374-0400
011601
12-18-20                                                                  LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form 1120 (2020)
                   Case 21-12228               Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                         Desc Main
                                                              Document     Page 54 of 71
           GOLDEN FLEECE BEVERAGES
Form 1120 (2020)                                                                                                                XX-XXXXXXX Page 2
  Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                  (c) Special deductions
                       (see instructions)                                                                              (b) %
                                                                                                     inclusions                            (a) x (b)
 1 Dividends from less-than-20%-owned domestic corporations (other than
   debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
 2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
   stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                          See
                                                                                                                     Instructions
 3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


 4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


 5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7


 6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


 7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs           ~~~~~~                               65


 8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                          See
                                                                                                                     Instructions
 9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
10 Dividends from domestic corporations received by a small business investment
     company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
13 Foreign-source portion of dividends received from a specified 10%-owned foreign
     corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
   (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                          See
                                                                                                                     Instructions
15 Section 965(a) inclusion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
     the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
     (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
   b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
     5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   c Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
     (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


17 Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
     page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                         Form 1120 (2020)


011611
12-18-20
                  Case 21-12228                  Doc 1      Filed 10/27/21 Entered 10/27/21 10:44:51                                Desc Main
                                                             Document     Page 55 of 71
Form 1120 (2020)       GOLDEN FLEECE BEVERAGES                                                                                          XX-XXXXXXX Page 3
  Schedule J            Tax Computation and Payment (see instructions)
Part I - Tax Computation
 1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
  2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                    0.
  3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3
  4       Add lines 2 and 3                                                          4                    0.
  5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                                 5a
   b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                                5b
   c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                               5c
      d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                      5d
      e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
  6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6
  7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7                    0.
  8       Personal holding company tax (attach Schedule PH (Form 1120))                                   8
  9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                           9a
   b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                       9b
      c Interest due under the look-back method-completed long-term contracts
        (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         9c
      d Interest due under the look-back method-income forecast method (attach Form 8866) ~       9d
      e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~            9e
      f   Interest/tax due under Section 453A(c) and/or Section 453(l) ~~~~~~~~~~~~
                                                                     9f
  g Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~ 9g
10 Total. Add lines 9a through 9g ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         10
11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                                11                   0.
Part II - Section 965 Payments (see instructions)
12        2020 net 965 tax liability paid from Form 965-B, Part II, column (k), line 4. Enter here and on page 1, line 32    12
Part III - Payments, Refundable Credits, and Section 965 Net Tax Liability
 13 2019 overpayment credited to 2020 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       13
14        2020 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  14
15        2020 refund applied for on Form 4466    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             15   (                  )
16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  16
17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    17
18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  18
19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             19
20         Refundable credits from:
      a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             20a
      b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
      c Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20c
      d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~                              20d
21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             21
22        2020 net 965 tax liability from Form 965-B, Part I, column (d), line 4. See instructions ~~~~~~~~~~~~~~~~~                22
23        Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
          line 33                                                                23
                                                                                                                                             Form 1120 (2020)




011621
12-18-20
                  Case 21-12228                      Doc 1          Filed 10/27/21 Entered 10/27/21 10:44:51                                     Desc Main
                                                                     Document     Page 56 of 71
Form 1120 (2020)     GOLDEN FLEECE BEVERAGES                                                                                                     XX-XXXXXXX Page 4
    Schedule K         Other Information (see instructions)
1     Check accounting method: a   Cash     b X Accrual                          c         Other (specify) |                                                     Yes         No
2     See the instructions and enter the:
    a Business activity code no. | 445299
    b Business activity | RETAIL
    c Product or service | BEVERAGES
3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
      If "Yes," enter name and EIN of the parent corporation |


4     At the end of the tax year:
    a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
      organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
      corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X
    b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
      classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                              X
 5 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
      foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
      If "Yes," complete (i) through (iv) below.
                                                                                          (ii) Employer                                                    (iv) Percentage
                                (i) Name of Corporation                              Identification Number                    (iii) Country of            Owned in Voting
                                                                                                                              Incorporation
                                                                                               (if any)                                                          Stock




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
      (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
      If "Yes," complete (i) through (iv) below.
                                                                                          (ii) Employer                       (iii) Country of                (iv) Maximum
                                    (i) Name of Entity                               Identification Number                                                Percentage Owned in
                                                                                               (if any)                       Organization
                                                                                                                                                          Profit, Loss, or Capital




 6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
   excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
   classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned |                             and (b) Owner's country |
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
 8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
   If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |                     27
11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |                          X
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
      or the election will not be valid.
12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
   page 1, line 29a.)  | $
                                                                                                                                                       Form 1120 (2020)
011632
12-18-20
                Case 21-12228                   Doc 1        Filed 10/27/21 Entered 10/27/21 10:44:51                                       Desc Main
                                                              Document     Page 57 of 71
Form 1120 (2020)     GOLDEN FLEECE BEVERAGES                                                                                                XX-XXXXXXX Page 5
  Schedule K          Other Information (continued from page 4)
13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the              Yes   No
   tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         X
     If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
     distributions and the book value of property distributions (other than cash) made during the tax year | $
14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions         ~~~~~~~~~~~~~~~                   X
   If "Yes," complete and attach Schedule UTP.
15a Did the corporation make any payments in 2020 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
  b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
   own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
   of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                X
18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
   market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
   under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                                   X
20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
     267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           X
     If "Yes," enter the total amount of the disallowed deductions | $
22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
   and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
     If "Yes," complete and attach Form 8991.
23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
   during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               X
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
    current tax year are more than $26 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," complete and attach Form 8990.
25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
   If "Yes," enter amount from Form 8996, line 15  | $
26 Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
   indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
     50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
     percentage by vote and by value. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           X
     Percentage: By Vote                                                 By Value
                                                                                                                                                  Form 1120 (2020)




011633
12-18-20
                   Case 21-12228                      Doc 1         Filed 10/27/21                  Entered 10/27/21 10:44:51                            Desc Main
Form 1120 (2020)           GOLDEN FLEECE BEVERAGES
                                             Document                                              Page 58 of 71                                           XX-XXXXXXX            Page   6
  Schedule L                  Balance Sheets per Books                           Beginning of tax year                                                End of tax year

                           Assets                                          (a)                                  (b)                            (c)                         (d)
  1 Cash ~~~~~~~~~~~~~~~~~                                                                                                                                               629,871.
  2a Trade notes and accounts receivable ~~~                                                                                                  401,046.
   b Less allowance for bad debts ~~~~~~                      (                            )                                       (                        )            401,046.
  3 Inventories ~~~~~~~~~~~~~~                                                                                                                                           587,917.
  4 U.S. government obligations ~~~~~~
  5 Tax-exempt securities ~~~~~~~~~
  6   Other current assets (att. stmt.)   STMT 4
                                          ~~~~~~~                                                                         0.                                             134,966.
  7 Loans to shareholders ~~~~~~~~~
  8 Mortgage and real estate loans ~~~~~
  9                           ~~~~~~~~
      Other investments (att. stmt.)

10a Buildings and other depreciable assets ~~                                                                                                 430,000.
  b Less accumulated depreciation ~~~~~                       (                            )                                       (           57,209.)                  372,791.
11a Depletable assets ~~~~~~~~~~~
  b Less accumulated depletion ~~~~~~                         (                            )                                       (                        )
12 Land (net of any amortization) ~~~~~~
13a Intangible assets (amortizable only) ~~~
  b Less accumulated amortization ~~~~~                       (                            )                                       (                        )
14 Other assets (att. stmt.) ~~~~~~~~
15 Total assets                                                                                              0.                                            2,126,591.
   Liabilities and Shareholders' Equity
16 Accounts payable ~~~~~~~~~~~                                                                                                                                          530,800.
17    Mortgages, notes, bonds payable in less than 1 year

18 Other current liabilities (att. stmt.) STMT
                                           ~~~~~~ 5                                                                       0.                                             492,122.
19 Loans   from   shareholders        ~~~~~~~~
20 Mortgages, notes, bonds payable in 1 year or more
21 Other liabilities (att. stmt.) ~~~~~~~~
22 Capital stock: a Preferred stock ~~~~~                                                                                                            91.
                  b Common stock ~~~~~                                                                                                                                         91.
23 Additional paid-in capital ~~~~~~~~                                                                                                                                  3,149,909.
   Retained earnings -
24 Appropriated (attach statement) ~~~~~~~
25 Retained earnings - Unappropriated ~~~                                                                                                                           -2,046,331.
      Adjustments to shareholders'
26    equity (attach statement) ~~~~~~~~~~
27 Less cost of treasury stock ~~~~~~~                                                         (                               )                                (                       )
28 Total liabilities and shareholders' equity                                        0.                                                                               2,126,591.
  Schedule M-1                      Reconciliation of Income (Loss) per Books With Income per Return
                                    Note: The corporation may be required to file Schedule M-3. See instructions.
  1 Net income (loss) per books ~~~~~~~                            -2,046,331. 7 Income recorded on books this year not
  2 Federal income tax per books ~~~~~~~                                                                 included on this return (itemize):
  3 Excess of capital losses over capital gains ~~                                                       Tax-exempt interest           $
  4   Income subject to tax not recorded on books this year                                                STMT 7                              12,838.
      (itemize):                                                                                                                                                          12,838.
                                                                                                   8 Deductions on this return not charged
  5 Expenses recorded on books this year not                                                         against book income this year (itemize):
    deducted on this return (itemize):                                                                   a Depreciation ~~ $                   11,452.
                                                                                                           Charitable
    a Depreciation~~ $                                                                                   b contributions ~~~ $
      b
           Charitable
           contributions    ~~ $                                                                           STMT 8                                    405.
      c
           Travel and
           entertainment      ~ $             1,255.                                                        11,857.
      STMT 6                                299,552.
                                         300,807. 9 Add lines 7 and 8 ~~~~~~~~~~~~~                         24,695.
  6 Add lines 1 through 5  -1,745,524.   10 Income (page 1, line 28) - line 6 less line 9  -1,770,219.
  Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
  1 Balance at beginning of year             ~~~~~~~                                               5 Distributions:       a Cash ~~~~~~~~~~
  2 Net income (loss) per books              ~~~~~~~               -2,046,331.                                            b Stock ~~~~~~~~~~
  3 Other increases (itemize):                                                                                       c Property ~~~~~~~~
                                                                                                   6 Other decreases (itemize) :


                                                                                                   7 Add lines 5 and 6 ~~~~~~~~~~~~~
  4 Add lines 1, 2, and 3                               -2,046,331. 8 Balance at end of year (line 4 less line 7)                                     -2,046,331.
                                                                                                                                                                      Form 1120 (2020)
011631
12-18-20
                  Case 21-12228               Doc 1         Filed 10/27/21 Entered 10/27/21 10:44:51                         Desc Main
                                                             Document     Page 59 of 71
Form          1125-A                                            Cost of Goods Sold
(Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                             Employer Identification number

         GOLDEN FLEECE BEVERAGES                                                                                                    XX-XXXXXXX
1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                1,519,440.
3     Cost of labor    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3
4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
5     Other costs (attach schedule)                       SEE STATEMENT 9
                                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                  340,603.
6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                1,860,043.
7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                  587,917.
8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                1,272,126.
9 a Check all methods used for valuing closing inventory:
    (i)   X Cost
      (ii)        Lower of cost or market
      (iii)       Other (Specify method used and attach explanation) |


    b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
    c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
    d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
      under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
    e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
    f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
      If "Yes," attach explanation.


For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




024441
04-01-20        LHA
                       Case 21-12228                           Doc 1              Filed 10/27/21 Entered 10/27/21 10:44:51                                                            Desc Main
                                                                                   Document     Page 60 of 71
            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                              | Attach to your tax return.
                                                                                                                                                                OTHER
                                                                                                                                                                                                 2020
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No.   179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



GOLDEN FLEECE BEVERAGES                                                          OTHER DEPRECIATION                               XX-XXXXXXX
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2020                                                    ~~~~~~~~~~~~~~                                17
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property                                                                              351,237. 5 YRS.                                     HY          200DB                      70,247.
     c         7-year property                                                                               78,763. 7 YRS.                                     HY          200DB                      11,252.
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                81,499.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
016251 12-18-20          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2020)
                  Case 21-12228                Doc 1     Filed 10/27/21 Entered 10/27/21 10:44:51                                            Desc Main
                                                          Document     Page 61 of 71
Form 4562 (2020)                 GOLDEN FLEECE BEVERAGES                                                              XX-XXXXXXX                                               Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                       !   !
26 Property used more than 50% in a qualified business use:



                                       !   !
                                                          %



                                       !   !
                                                          %
                                                     %



                                       !   !
27 Property used 50% or less in a qualified business use:



                                       !   !
                                                          %                                                          S/L -



                                       !   !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                    Description of costs               Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2020 tax year:
GOODWILL                                               021420                         6,633.                                    180M                                           405.

                                                            ! !
43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44                                 405.
016252 12-18-20                                                                                                                                                    Form 4562 (2020)
                 Case 21-12228                   Doc 1              Filed 10/27/21 Entered 10/27/21 10:44:51                                        Desc Main
                                                                     Document     Page 62 of 71
                                                        Sales of Business Property
                                                                                                                                                                     OMB No. 1545-0184


Form       4797
Department of the Treasury
                                        (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                       | Attach to your tax return.
                                                                                                                                                                      2020
                                                                                                                                                                   Attachment
Internal Revenue Service                          | Go to www.irs.gov/Form4797 for instructions and the latest information.                                        Sequence No.   27
Name(s) shown on return                                                                                                               Identifying number


      GOLDEN FLEECE BEVERAGES                                                                                                             XX-XXXXXXX
 1 Enter the gross proceeds from sales or exchanges reported to you for 2020 on Form(s) 1099-B or 1099-S (or substitute
   statement) that you are including on line 2, 10, or 20. See instructions                                                 1
  Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                  Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                               (e) Depreciation           (f) Cost or other             (g) Gain or (loss)
                                                  (b)   Date        (c)   Date
                                                                                        (d) Gross                                            basis, plus                 Subtract (f) from
                  (a) Description of                acquired            sold              sales price
                                                                                                            allowed or allowable          improvements and            the sum of (d) and (e)
                      property                    (mo., day, yr.)   (mo., day, yr.)                           since acquisition            expense of sale


 2




 3 Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
 4 Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         4
 5 Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           5
 6 Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            6
 7 Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~~~~~~~~~                                          7
   Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
   line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
   Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
   from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
   1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
   the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
 8 Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       8
 9 Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
     line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
     capital gain on the Schedule D filed with your return. See instructions                                                     9

  Part II         Ordinary Gains and Losses                    (see instructions)

10 Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
SALE OF ASSETS - ARGO TEA INC.
                    012920042220                                                       859,412.                                             350,000.                    509,412.


11     Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            11 (                             )
12     Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            13
14     Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               14
15     Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15
16     Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         16
17     Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             17        509,412.

18     For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines a
       and b below. For individual returns, complete lines a and b below.

     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
       from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used as an
       employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
       (Form 1040), Part I, line 4                                                                            18b
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form   4797 (2020)




018001
12-18-20
GOLDEN Case
       FLEECE  BEVERAGES
            21-12228 Doc                                 1     Filed 10/27/21 Entered 10/27/21 10:44:51                                        XX-XXXXXXX
                                                                                                                                         Desc Main
Form 4797 (2020)                                                Document     Page 63 of 71                                                                                  Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                              (b) Date acquired      (c) Date sold
                                                                                                                                               (mo., day, yr.)       (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A
   B
   C
   D
        These columns relate to the properties on
        lines 19A through 19D.                                        J          Property A               Property B            Property C                       Property D
 20     Gross sales price (Note: See line 1 before completing.)      20
 21     Cost or other basis plus expense of sale ~~~~~~              21
 22     Depreciation (or depletion) allowed or allowable ~~~         22
 23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23


 24     Total gain. Subtract line 23 from line 20              24
 25     If section 1245 property:
      a Depreciation allowed or allowable from line 22 ~~~           25a
      b Enter the smaller of line 24 or 25a                  25b
 26     If section 1250 property: If straight line depreciation
        was used, enter -0- on line 26g, except for a corporation
        subject to section 291.
      a Additional depreciation after 1975 ~~~~~~~~~                 26a
      b Applicable percentage multiplied by the smaller of
        line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
      c Subtract line 26a from line 24. If residential rental
        property or line 24 isn't more than line 26a, skip lines
        26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
      d Additional depreciation after 1969 and before 1976 ~         26d
      e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
      f Section 291 amount (corporations only) ~~~~~~                26f
      g Add lines 26b, 26e, and 26f                       26g
 27     If section 1252 property: Skip this section if you didn't
        dispose of farmland or if this form is being completed for
        a partnership.
      a Soil, water, and land clearing expenses ~~~~~~               27a
      b Line 27a multiplied by applicable percentage ~~~~            27b
      c Enter the smaller of line 24 or 27b                  27c
 28     If section 1254 property:
      a Intangible drilling and development costs, expenditures
        for development of mines and other natural deposits,
        mining exploration costs, and depletion ~~~~~~               28a
      b Enter the smaller of line 24 or 28a                  28b
 29     If section 1255 property:
      a Applicable percentage of payments excluded from
        income under section 126 ~~~~~~~~~~~~     29a
  b Enter the smaller of line 24 or 29a   29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


 31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
 32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
        from other than casualty or theft on Form 4797, line 6                                                 32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                                (a) Section                      (b) Section
                                                                                                                                    179                          280F(b)(2)
 33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
 34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
 35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
018002
12-18-20                                                                                                                                                          Form 4797 (2020)
                  Case 21-12228                 Doc 1          Filed 10/27/21 Entered 10/27/21 10:44:51                                          Desc Main
                                                                Document     Page 64 of 71
Form      8594
(Rev. December 2012)
                                                              Asset Acquisition Statement
                                                                             Under Section 1060
                                                                                                                                                              OMB No. 1545-1021


Department of the Treasury                                               | Attach to your income tax return.                                                  Attachment
Internal Revenue Service                                                                                                                                      Sequence No.   169
                                          | Information about Form 8594 and its separate instructions is at www.irs.gov/form8594
Name as shown on return                                                                                                    Identifying number as shown on return

    GOLDEN FLEECE BEVERAGES                                                                                                            XX-XXXXXXX
    Check the box that identifies you:
     X Purchaser               Seller
 Part I          General Information
1 Name of other party to the transaction                                                                                              Other party's identifying number

    ARGO TEA, INC.                                                                                                                     XX-XXXXXXX
    Address (number, street, and room or suite no.)
    16 WEST RANDOLPH STREET
    City or town, state, and ZIP code
    CHICAGO, IL 60601
2 Date of sale                                                                                                                        3 Total sales price (consideration)
 02/14/20                                                                                                                                         2,430,460.
 Part II Original Statement of Assets Transferred

4       Assets                 Aggregate fair market value (actual amount for Class I)                                          Allocation of sales price


Class I                $                65,550.                                                      $                   65,550.

Class II               $                          0.                                                 $                              0.

Class III              $            607,391.                                                         $                607,391.

Class IV               $            845,886.                                                         $                845,886.

Class V                $            905,000.                                                         $                905,000.

Class VI and VII       $                 6,633.                                                      $                     6,633.

Total                  $       2,430,460.                                                            $           2,430,460.
5 Did the purchaser and seller provide for an allocation of the sales price in the sales contract or in another written document
  signed by both parties? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                X Yes                No
    If "Yes," are the aggregate fair market values (FMV) listed for each of asset Classes I, II, III, IV, V, VI, and VII the amounts agreed
    upon in your sales contract or in a separate written document?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           Yes     X No

6 In the purchase of the group of assets (or stock), did the purchaser also purchase a license or a covenant
  not to compete, or enter into a lease agreement, employment contract, management contract, or similar
  arrangement with the seller (or managers, directors, owners, or employees of the seller)? ~~~~~~~~~~~~~~~~~~~~~~~                                                  Yes     X No

    If "Yes," attach a statement that specifies (a) the type of agreement and (b) the maximum amount of consideration (not including interest) paid or
    to be paid under the agreement. See instructions.




LHA        For Paperwork Reduction Act Notice, see separate instructions.                                                                                   Form   8594 (Rev. 12-2012)
020261 04-01-20
                 Case 21-12228                    Doc 1          Filed 10/27/21 Entered 10/27/21 10:44:51                              Desc Main
                                                                  Document     Page 65 of 71
Form 8594 (Rev. 12-2012) GOLDEN   FLEECE BEVERAGES                                                         XX-XXXXXXX                                            Page   2
 Part III        Supplemental Statement - Complete only if amending an original statement or previously filed supplemental statement
                 because of an increase or decrease in consideration.
 7 Tax year and tax return form number with which the original Form 8594 and any supplemental statements were filed.



 8      Assets           Allocation of sales price as previously reported       Increase or (decrease)                 Redetermined allocation of sales price


Class I              $                                                      $                             $


Class II             $                                                      $                             $


Class III            $                                                      $                             $


Class IV             $                                                      $                             $


Class V              $                                                      $                             $


Class VI and VII     $                                                      $                             $


Total                $                                                                                    $

 9 Reason(s) for increase or decrease. Attach additional sheets if more space is needed.




                                                                                                                                               Form   8594 (Rev. 12-2012)




020262
04-01-20
 Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                          Document     Page 66 of 71
ELECTION TO WAIVE THE NET OPERATING LOSS CARRYBACK PERIOD



GOLDEN FLEECE BEVERAGES
250 E PEARSON STREET #1601
CHICAGO, IL 60611


EMPLOYER IDENTIFICATION NUMBER:    XX-XXXXXXX


FOR THE YEAR ENDING DECEMBER 31, 2020


GOLDEN FLEECE BEVERAGES HEREBY ELECTS, PURSUANT TO SEC. 172(B)(3) OF
THE INTERNAL REVENUE CODE, TO RELINQUISH THE ENTIRE CARRYBACK
PERIOD WITH RESPECT TO THE NET OPERATING LOSS INCURRED FOR THE TAX
YEAR ENDED DECEMBER 31, 2020, AND WILL HAVE SUCH LOSS AVAILABLE FOR
CARRYFORWARD ONLY.
 Case 21-12228   Doc 1    Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                           Document     Page 67 of 71
ELECTION NOT TO CLAIM THE ADDITIONAL FIRST YEAR
 DEPRECIATION ALLOWABLE UNDER IRC SEC. 168(K)




GOLDEN FLEECE BEVERAGES
250 E PEARSON STREET #1601
CHICAGO, IL 60611


EMPLOYER IDENTIFICATION NUMBER:     XX-XXXXXXX


FOR THE YEAR ENDING DECEMBER 31, 2020


GOLDEN FLEECE BEVERAGES, HEREBY ELECTS, PURSUANT TO IRC SEC.
168(K)(7), NOT TO CLAIM THE ADDITIONAL DEPRECIATION ALLOWABLE UNDER
IRC SEC. 168(K) FOR THE FOLLOWING QUALIFYING PROPERTY PLACED IN
SERVICE DURING THE TAX YEAR ENDING DECEMBER 31, 2020.


ALL PROPERTY IN THE 5 YEAR CLASS.
ALL PROPERTY IN THE 7 YEAR CLASS.


SEE ATTACHED FORM 4562.
 Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
                          Document     Page 68 of 71
SECTION 1.263(A)-1(F) DE MINIMIS SAFE HARBOR ELECTION




GOLDEN FLEECE BEVERAGES
250 E PEARSON STREET #1601
CHICAGO, IL 60611


EMPLOYER IDENTIFICATION NUMBER:    XX-XXXXXXX


FOR THE YEAR ENDING DECEMBER 31, 2020


GOLDEN FLEECE BEVERAGES IS MAKING THE DE MINIMIS SAFE HARBOR
ELECTION UNDER REG. SEC. 1.263(A)-1(F).
       Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
GOLDEN FLEECE BEVERAGES         Document     Page 69 of 71          XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}                                             }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                        OTHER INCOME                    STATEMENT 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
LICENSING & ROYALTY FEES                                                         176,219.
OTHER INCOME                                                                      15,408.
                                                                           }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 10                                                      191,627.
                                                                           ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                     TAXES AND LICENSES                 STATEMENT 2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
LICENSES & PERMITS                                                                 1,555.
PAYROLL TAX                                                                       23,593.
                                                                           }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 17                                                       25,148.
                                                                           ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ADMINISTRATIVE EXPENSES                                                           29,484.
AMORTIZATION                                                                          405.
BANK CHARGES                                                                      17,291.
BUSINESS TRANSITION EXPENSE                                                      160,760.
DUES & SUBSCRIPTIONS                                                               1,513.
EXPIRED PRODUCTS EXPENSE                                                         351,389.
INSURANCE                                                                         19,595.
LEGAL & PROFESSIONAL EXPENSE                                                     414,843.
MEALS                                                                              1,256.
MISCELLANEOUS EXPENSE                                                            131,004.
OFFICE SUPPLIES EXPENSE                                                            3,066.
OTHER EMPLOYEE EXPENSES                                                           68,423.
PHONE & INTERNET                                                                   5,155.
RESEARCH & DEVELOPMENT                                                           207,052.
SALES TAX                                                                         71,142.
SHIPPING EXPENSE                                                                  39,228.
SOFTWARE                                                                          21,341.
STORAGE EXPENSE                                                                   84,781.
STORE OPENING EXPENSE                                                            119,327.
TRAVEL EXPENSE                                                                    15,812.
                                                                           }}}}}}}}}}}}}}
TOTAL TO FORM 1120, LINE 26                                                    1,762,867.
                                                                           ~~~~~~~~~~~~~~




                                                                    STATEMENT(S) 1, 2, 3
       Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
GOLDEN FLEECE BEVERAGES         Document     Page 70 of 71          XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}                                             }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                         BEGINNING OF    END OF TAX
DESCRIPTION                                                TAX YEAR         YEAR
}}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE FROM AFFILIATE                                                  0.        84,509.
OTHER RECEIVABLES                                                   0.         5,703.
PREPAID EXPENSES                                                    0.        44,754.
                                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                         0.       134,966.
                                                        ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                         BEGINNING OF    END OF TAX
DESCRIPTION                                                TAX YEAR         YEAR
}}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED EXPENSES                                                    0.       354,192.
ACCRUED PAYROLL TAX                                                 0.         8,752.
ACCRUED SALARIES & WAGES                                            0.        37,097.
DUE TO AFFILIATE                                                    0.        92,081.
                                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 18                                        0.       492,122.
                                                        ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER EXPENSES RECORDED ON BOOKS          STATEMENT 6
                         NOT DEDUCTED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ENTERTAINMENT                                                                      1,829.
SALARIES AND WAGES                                                                 2,939.
UNPAID ACCRUED EXPENSES                                                          288,151.
LOSS ON ASSET PURCHASE                                                             6,633.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                    299,552.
                                                                           ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER INCOME RECORDED ON BOOKS            STATEMENT 7
                         NOT INCLUDED IN THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
GAIN (LOSS) ON SALE OF ASSETS NOT ON RETURN                                       12,838.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 7                                                     12,838.
                                                                           ~~~~~~~~~~~~~~




                                                                 STATEMENT(S) 4, 5, 6, 7
       Case 21-12228   Doc 1   Filed 10/27/21 Entered 10/27/21 10:44:51   Desc Main
GOLDEN FLEECE BEVERAGES         Document     Page 71 of 71          XX-XXXXXXX
}}}}}}}}}}}}}}}}}}}}}}}                                             }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1           OTHER DEDUCTIONS IN THIS RETURN           STATEMENT 8
                       NOT CHARGED AGAINST BOOK INCOME
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
AMORTIZATION                                                                          405.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 8                                                         405.
                                                                           ~~~~~~~~~~~~~~




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
FREIGHT EXPENSE                                                                  340,603.
                                                                           }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                  340,603.
                                                                           ~~~~~~~~~~~~~~




                                                                          STATEMENT(S) 8, 9
